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                             UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                      DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                             404-215-1655
 AND CLERK OF COURT
                                        February 28, 2022

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:18-cv-0830-WMR
       U.S.C.A. No.: 00-00000-00
       In re: MIMEDX GROUP, INC. SECURITIES LITIGATION

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.
   X    Certified copies of the Notice of Appeal, Clerk’s Judgment, Orders and Docket
        Sheet appealed enclosed.

        This is not the first Notice of Appeal.

        There is no transcript.

   X    The court reporters are Wynette Blathers, Andy Ashley, and Viola Zborowski.

        There is sealed material in this case.

        Other: .

   X    Fee paid; Receipt Number AGANDC-11619471.

        Appellant has been leave to file in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is Judge .

        The Magistrate Judge is .

   X    The District Judge is William M. Ray, II.

        This is a DEATH PENALTY appeal.
                                                               Sincerely,

                                                               Kevin P. Weimer
                                                               District Court Executive
                                                               and Clerk of Court

                                                         By: /s/ Ms. Carter
                                                             Deputy Clerk
Enclosures
